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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

SHELLEY JEAN WILLIAMS,                         §
                                               §
                Plaintiff,                     §   CIVIL ACTION NO. 4:19-CV-00756-CAN
v.                                             §
                                               §
COMMISSIONER, SSA,                             §
                                               §
                Defendant.                     §

                             MEMORANDUM OPINION AND ORDER

       The Court, having reviewed Plaintiff Shelley Jean Williams’s “Motion and Memorandum

for Attorney’s Fees pursuant to the Equal Access to Justice Act” [Dkt. 17] and the Commissioner’s

Response [Dkt. 19], wherein the Commissioner does not object to the requested attorney’s fees,

finds that Plaintiff’s Motion is well taken and should be granted. Accordingly,

       It is therefore ORDERED that Plaintiff Shelley Jean Williams’s “Motion and

Memorandum for Attorney’s Fees pursuant to the Equal Access to Justice Act” [Dkt. 17] is

GRANTED, and the Commissioner is directed to pay three thousand seven hundred forty dollars

and eighty-five cents ($3,740.85) in attorney’s fees. Payment shall be made payable to Plaintiff

and mailed to Plaintiff’s counsel of record.

       IT IS SO ORDERED.

       SIGNED this 31st day of August, 2020.




                                   ___________________________________
                                   Christine A. Nowak
                                   UNITED STATES MAGISTRATE JUDGE
